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Khalid Masood Chodhry
7571 Miramar Parkway

Miramar, FL 33023
July 16", 2019

Honorable Chief Judge K. Michael Moore
400 N. Miami Ave., Room 13-1

Miami, FL 33128-1807
Re: United States v. Tayyab Tahir Ismail, Case No. 18-cr-60352-KMM

Honorable Judge Moore,

My name is Khalid Masood Chodhry, a proud and law abiding U.S. citizen and retired health
administrator. | have lived in Broward County for the past 27 years, where | am married and have two
adult children, three grandchildren.

lam writing this correspondence in support of Tayyab Tahir Ismail, who has been a part of our
extended family since he was an elementary student. | last saw him in October of 2018, where we spent
time with his daughter, and it seemed to me that he was happy and living a good, socially-conscious life.
However, | was recently approached by his bereaving father, Mr. Mohammed Tahir Ismail, regarding his
son's situation. With a heavy heart, he requested that | write a letter of character that represents the
Tayyab that | have known for approximately 25 years. Particularly, | would like to talk about his attitude,
interests, and aptitude, so that you understand, at least from my experience, that he is truly a good
man. He has always been a religious person who regarding family as the most important attribute in his
life. He has always helped me with my health and chores around the house and hs been most polite in
his behavior toward all around him. | truly believe that it is my moral duty to express these
characteristics. Furthermore, because of the nature of this conviction, it is also my belief that this act of
crime that he has been convicted of is mostly based upon a bad decision in selecting and being
influenced by a bad group of social media acquaintances.

As a brief history, Tayyab’s father was a strong man of principle and faith, but he mother was
extremely lenient and less tough on him. In short, she wasn’t able to help him build self-confidence and
self-esteem. This lead to Tayyab not developing the correct skills in making good decisions and solving
problems in his life. Additionally, he was bullied at school and faced numerous acts of racism and social
injustice. | believe, where most young males learn to overcome these common adolescent issues, he
was unable to gain the confidence which would lead most in making clear, socially-correct decisions. In
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this, he has always had issues thinking and building upon his own ideas and rejecting others.
Unfortunately, this has carried over into his adult life where he is still being pressured and influenced by
those who manipulate him, as they did in his adolescent years.

In conclusion, all of us interested in his future wish to express our understanding that what he
did was against the law and in short, idiotic. However, the intent of this correspondence, as you will
read or have already read many others, is to humbly state that we believe his actions in this case were
not malicious or purposely intended to harm others. From what we know of Tayyab, he was again
following others who easily dominate him. With this in mind, we do believe he needs to seek
professional psychological help, so that he may find himself and gain the confidence to stand up to
others who are influencing him negatively. From me, and only me, | beg you to show some lenience in
his case. We know it will not be easy, based on the recent history of this great country — 9/11, but we
wanted to share our honest appeal in stating who he is; who we have always known him to be. | humbly
pray you take this into reasonable consideration. Thank you for your time and God bless.

Sincerely,
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Khalid Masood Chodhry
